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17                                                        page]

18                               UNITED STATES DISTRICT COURT

19                            NORTHERN DISTRICT OF CALIFORNIA

20                                    SAN FRANCISCO DIVISION

21
     MAXIMILIAN KLEIN, et al., on behalf of           Case No. 3:20-cv-08570-JD
22   themselves and all others similarly situated,
23                                 Plaintiffs,        STIPULATED [PROPOSED] ORDER
                                                      MODIFYING SEALING PROCEDURES
24          v.                                        RELATING TO DISPOSITIVE
                                                      MOTIONS AND MERITS DAUBERT
25   META PLATFORMS, INC., a Delaware
     Corporation,                                     BRIEFING
26
                                   Defendant.         Judge: Hon. James Donato
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 1          WHEREAS, this Court’s November 18, 2022 Amended Scheduling Order set a schedule

 2   for briefing associated with dispositive motions and merits Daubert motions. As set forth in the

 3   scheduling order, the last date to file dispositive motions and merits Daubert motions is April 5,

 4   2024, and briefing is scheduled to be complete on those motions on May 21, 2024. The scheduling

 5   order also calls for the parties to file, on May 28, 2024, a joint submission for the merits concurrent

 6   expert proceeding. Dkt. 379.

 7          WHEREAS, the parties anticipate that briefing on any dispositive motions and merits

 8   Daubert motions and the joint submission for the merits concurrent expert proceeding would

 9   involve “voluminous or multiple administrative motions to seal … if normal procedures were

10   followed,” including motions to consider whether multiple non-parties’ information should be

11   sealed. Accordingly, the parties believe that these filings are subject to the procedure set forth in

12   Paragraph 31 of the Court’s Standing Order for Civil Cases, which calls for the filing of a single

13   combined administrative motion to seal covering all unopposed sealing requests, and a single

14   combined administrative motion to seal covering all opposed requests, following the completion

15   of briefing (“Omnibus Sealing Motions”).

16          WHEREAS, given that pursuant to Paragraph 31, the Omnibus Sealing Motions will

17   supersede any interim sealing motions that would ordinarily accompany the parties’ opening

18   briefs, opposition briefs, reply briefs, and the joint submission for the merits concurrent expert

19   proceeding, the parties believe it will be most efficient for the Court, the parties, and any implicated

20   non-parties to handle all sealing issues in Omnibus Sealing Motions to be filed following the filing

21   of these materials.

22          WHEREAS, the parties have conferred and jointly propose, subject to the Court’s approval,

23   certain modifications to this Court’s procedures for sealing of filings associated with dispositive

24   motion briefing, merits Daubert briefing, and the joint submission for the merits concurrent expert

25   proceeding, for efficiency and to reduce burden on the Court, the parties, and any implicated non-

26   parties. The parties are mindful of the Court’s instructions that sealing requests should be few,

27   narrowly tailored, and well-supported. See Dkt. 344.

28          WHEREAS, this Court previously approved similar modifications to its sealing procedures


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 1   for the parties’ briefing on motions for class certification and related Daubert motions, Dkt. 656,

 2   and the parties understand that this Court has approved similar modifications to its sealing

 3   procedures in other similar contexts, In re Google Play Store Antitrust Litig., 3:21-md-02981-JD,

 4   Dkts. 246, 256, 496 (N.D. Cal.).

 5          NOW, THEREFORE, IT IS STIPULATED AND AGREED SUBJECT TO THE

 6   COURT’S APPROVAL:

 7                 The parties shall file redacted versions of dispositive motions briefing, merits

 8                  Daubert briefing, and the joint submission for the merits concurrent expert

 9                  proceeding, as separate entries on the ECF docket; and

10                 The parties shall also contemporaneously file unredacted copies of all documents

11                  on the ECF docket provisionally under seal, along with a one-page interim sealing

12                  motion which may indicate that the reasons for sealing will be discussed in a

13                  forthcoming Omnibus Sealing Motion; and

14                 The parties and any non-parties shall jointly file Omnibus Sealing Motions

15                  covering the dispositive motions briefing, merits Daubert briefing, and the joint

16                  submission for the merits concurrent expert proceeding 30 days after the last of

17                  these documents is filed;

18                 For briefing on other motions or other filings not referenced in this stipulation that

19                  the parties anticipate would involve voluminous or multiple administrative motions

20                  to seal if normal procedures were followed, the parties may agree to use the sealing

21                  procedure set out in this stipulation without seeking further authorization from the

22                  Court. For such filings, the parties shall file redacted versions of the relevant

23                  documents as separate entries on the ECF docket; contemporaneously file

24                  unredacted copies of all documents on the ECF docket provisionally under seal,

25                  along with a one-page interim sealing motion which may indicate that the reasons

26                  for sealing will be discussed in a forthcoming Omnibus Sealing Motion; and the

27                  parties and any non-parties shall jointly file Omnibus Sealing Motions covering

28                  such filings 30 days after the last document associated with the relevant motion or


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 1                  other filing is filed.

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 3          IT IS SO STIPULATED.

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      DATED: March 25, 2024                      Respectfully submitted,
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       Case 3:20-cv-08570-JD Document 745 Filed 03/25/24 Page 6 of 8



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 1                                   SIGNATURE ATTESTATION

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3   Sonal N. Mehta. By her signature, Ms. Mehta attests that she has obtained concurrence in the

 4   filing of this document from each of the attorneys identified on the caption page and in the above

 5   signature block.

 6

 7                                                   By:    /s/ Sonal N. Mehta
 8                                                           Sonal N. Mehta

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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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18   Dated: March 25, 2024
                                                                 JAMES DONATO
19                                                               United States District Judge
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